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15                              UNITED STATES DISTRICT COURT
16                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     JAMES MILLER, et al.,                                  Case No. 3:19-cv-01537-BEN-JLB
18
19                          Plaintiffs,                     PLAINTIFFS’ NOTICE OF MOTION
                                                            AND MOTION FOR PRELIMINARY
20
          vs.                                               INJUNCTION
21
22 XAVIER BECERRA, in his official                          Complaint filed: August 15, 2019
   capacity as Attorney General of                          Amended Complaint filed:
23 California, et al.,                                      September 27, 2019
24
                       Defendants.                          Date: Thursday, January 16, 2020
25                                                          Time: 10:00 a.m.
26                                                          Department: Courtroom 5A (5th floor)
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28
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                Plaintiffs’ Notice Of Motion and Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
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1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
2    RECORD: Notice is hereby given that on January 16, 2020, at 10:00 a.m. in
3    Courtroom 5A (5th floor) of the above-captioned Court, located at 221 W.
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     Broadway, San Diego, California 92101, Plaintiffs will move for preliminary
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     injunction under Rule 65(a) of the Federal Rules of Civil Procedure. Specifically,
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     Plaintiffs will seek an order enjoining Defendants Attorney General Xavier
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     Becerra and his agent, servants, employees, and those working in active concert
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9    with him, from enforcing or giving effect to California Penal Code sections 30515

10   (a) and (b), 30600, 30605, 30800, 30910, 30915, 30925, 30945, 30950, 31000, and
11   31005, as well as Title 11, California Code of Regulations section 5460 and 5471
12   during the pendency of this action.
13         Plaintiffs bring this motion on the grounds that California Penal Code
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     sections 30515 (a) and (b), 30600, 30605, 30800, 30910, 30915, 30925, 30945,
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     30950, 31000, and 31005, as well as Title 11, California Code of Regulations
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     section 5460 and 5471 apply a categorical ban on common semiautomatic firearms
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18   with common characteristics in violation of the Second Amendment of the U.S.

19   Constitution. The criminalization of the Plaintiffs and other law-abiding
20   individuals from, inter alia, keeping, bearing, buying, selling, transferring,
21   possessing, transporting, or passing down to heirs or other by bequest of so-called
22   “assault weapons” infringes on the Second Amendment’s core right of the
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     individual right to keep and bear arms for self defense and other lawful purposes.
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           The motion is based on this notice of motion and motion, the memorandum
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     of points and authorities field concurrently with this motion, and the supporting
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27   and concurrently filed Declarations of Jim Miller, Neil Rutherford, Ryan Peterson,

28   Adrian Sevilla, John Phillips, Wendy Hauffen, Michael A. Schwartz, Gene
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            Plaintiffs’ Notice Of Motion and Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
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1    Hoffman, Alan Gottlieb, Brandon Combs, Adam Kraut, Allen Youngman, Ashley
2    Hlebinsky, Emanuel Kapelsohn, George A. Mocsary, James Curcuruto, and Dr.
3    John Lott. This motion is also based on the Second Amended Complaint,
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     pleadings, and records already on file, and on any further matters the Court deems
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     appropriate at or before the time of the hearing.
6
7    December 6, 2019                                SEILER EPSTEIN LLP
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                                                     GATZKE DILLON & BALLANCE LLP
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10                                                   Attorneys for Plaintiffs
11                                                   /s/ John W. Dillon___________________
                                                     John W. Dillon
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             Plaintiffs’ Notice Of Motion and Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
